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                            DISTRICT COURT OF THE VIRGIN ISLANDS

                                         DIVISION OF ST. CROIX
                                                 ║
VITALIS CADETTE,                                 ║
                                                 ║
                        Plaintiff,               ║          1:21-cv-00249-WAL-GWC
                                                 ║
        v.                                       ║
                                                 ║
GLENCORE LTD. and COSMOGONY II, ║
INC.,                                            ║
                                                 ║
                        Defendants.              ║
________________________________________________ ║


TO:     Korey A. Nelson, Esq.
        C. Jacob Gower, Esq.
        Warren T. Burns, Esq.
        H. Rick Yelton, Esq.
        Richard A. Hunter, Esq.


                     ORDER DENYING REQUEST FOR ENTRY OF DEFAULT

        THIS MATTER is before the Court upon Plaintiff’s Request for Entry of Default

Against Defendant Cosmogony II, Inc. (ECF No. 16). This order is issued without necessity

of response.

        As Plaintiff cites, default may be entered, pursuant to Federal Rules of Civil

Procedure Rule 55(a), against a party who has failed to plead or otherwise defend an action

against them. Fed. R. Civ. P. 55(a).1 At the same time, it is well established that default may

be validly entered only after a complaint and summons have been properly served. See,

1Rule  55(a) provides: “When a party against whom a judgment for affirmative relief is sought has failed to
plead or otherwise defend, and that failure is shown by affidavit or otherwise, the clerk must enter the party’s
default.” Fed. R. Civ. P. 55(a). The Court notes that, while Plaintiff emphasizes the mandatory nature of the
rule, Plaintiff misquotes Rule 55(a) and also completely overlooks the requirement that the failure of the
defending party to plead or otherwise respond be “shown by affidavit or otherwise.” The record is devoid of
any affidavit or other evidence supporting the motion. In fact, the docket indicates that the Court informed
Plaintiff’s counsel that documents were missing. See Notice of Corrected Docket Entry, dated October 5, 2021.
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e.g., Anderson v. Mercer County Sheriff’s Dept., Civil Action No. 11-cv-7620 (JAP), 2013 WL

5703615 at *3 (D.N.J. Oct. 17, 2013) (“The entry of default ‘when there has been no proper

service of the complaint is a fortiori void, and should be set aside.’” (quoting Gold Kist, Inc. v.

Laurinburg Oil Co., 756 F. 2d 14, 19 (3d Cir. 1985)); Thompson v. Mattleman, Greenberg,

Shmerelson, Weinroth & Miller, No. CIV. A. 93-2290, 1995 WL 321898 at *4 (E.D. Pa. 1995)

(“It is true that ‘[b]efore a default can be entered, the court must have jurisdiction over the

party against whom the judgment is sought, which also means that he must have been

effectively served with process.’” (citations omitted)).

        As grounds for his motion, Plaintiff declares that Defendant Cosmogony II, Inc.,

“[w]as properly served . . . pursuant to Title 13 V.I.C. [sic] § 348 via service on the Office of

the Lieutenant Governor . . . .” Mot. at 1. Plaintiff seemingly asserts that he was entitled to

utilize this form of substituted service because, he alleges, “Cosmogony II, Inc., has not kept

a valid and current resident/registered agent.” Id.

        Section 348 of Title 13 of the Virgin Islands Code provides, in relevant part:

        In case legal process against a corporation cannot by due diligence be served
        upon any person authorized to receive it, such process, including the
        complaint, may be served in duplicate upon the Lieutenant Governor, which
        service shall be effectual for all purposes of law. Within two days after
        service upon the Lieutenant Governor, he shall notify the corporation thereof
        by letter directed to the corporation at its last registered office, in which
        letter shall be enclosed a copy of the process, the complaint or other papers
        served. In any action in which the process shall be so served the plaintiff
        shall pay to the Lieutenant Governor the sum of twenty-five dollars ($25.00),
        which sum shall be taxed as a part of the costs in the action if the plaintiff
        shall prevail therein.
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V.I. Code Ann., tit. 13, § 348. The plain language of the statute requires a plaintiff to use

“due diligence” to serve “any person authorized to receive it” before resorting to the

substituted service allowed by the statute. Nowhere in Plaintiff’s motion does Plaintiff

detail his diligent attempts to serve said Defendant prior to taking advantage of the

substituted service allowed by the statute. His mere declaration that said Defendant

doesn’t have a current registered agent is insufficient to show due diligence.

        As the then-Territorial Court of the Virgin Islands states:

        Significantly, section 348's due diligence requirement is not limited to
        attempts at serving a registered agent, but requires a plaintiff to use due
        diligence to serve "any person authorized to receive [process]." V.I. Code
        Ann. tit. 13, § 348 (1998). Had our Legislature intended to require due
        diligence only in relation to serving the registered agent, it could easily have
        limited the language of section 348 to reflect this intention. See, e.g., Dutch
        Farm Meats, Inc. v. Horizon Foods, Inc., 275 Ill. App. 3d 322, 655 N.E. 2d
        1012, 1015, 211 Ill. Dec. 629 (Ill. App. Ct. 1995) (accepting substitute service
        where only prior attempt at service was upon registered agent because
        statute only required reasonable diligence "in relation to finding the
        registered agent at the registered office."). Section 348, however, requires
        due diligence in serving any person who can receive service.

V.I. Cement & Bldg. Prods. v. Capital Int'l Corp., 42 V.I. 64, 67-68 (Terr. Ct. 2000). The

V.I. Cement & Bldg. Prods. court then finds that “Plaintiff could have easily served

Defendant at its Maitland, Florida[,] office where Plaintiff was in constant contact

with Defendant’s president and chairman . . . .” and that “in light of Plaintiff’s actual

knowledge of Defendant’s address, its reliance on section 348 substituted service

violates due process.” Id. at 68. The court concludes that “Plaintiff did not perfect

service on Defendant.” Id. at 69.
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        Here, in the matter at bar, the Court finds that Plaintiff’s purported

substituted service upon the Lieutenant Governor was ineffective to perfect service

upon Defendant Cosmogony II, Inc. First, Plaintiff fails to provide any evidence to

support his allegation that Cosmogony II, Inc., has no registered agent. Second, even

if that allegation is true, Plaintiff fails to demonstrate that he employed “due

diligence” to serve “any person authorized to receive” service of process and that

such attempts were unsuccessful to the extent that he was entitled to employ

substituted service upon the Lieutenant Governor. Third, even if the Court assumes

that such substituted service was permitted in this instance, Plaintiff fails to submit

any evidence that the other provisions of Section 348 were fulfilled, namely that the

Lieutenant Governor notified Cosmogony II, Inc., by letter and that Plaintiff paid the

required $25.00 fee.

        Because Plaintiff failed to effectuate proper service of process upon

Defendant Cosmogony II, Inc., Plaintiff’s motion for entry of default also must fail.

        Accordingly, it is now hereby ORDERED that Plaintiff’s Request for Entry of

Default Against Defendant Cosmogony II, Inc. (ECF No. 16) is DENIED.

                                                    ENTER:


Dated: November 4, 2021                             /s/ George W. Cannon, Jr.
                                                    GEORGE W. CANNON, JR.
                                                    U.S. MAGISTRATE JUDGE
